Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 1 of 69




                       EXHIBIT 20
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 2 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 3 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 4 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 5 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 6 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 7 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 8 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 9 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 10 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 11 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 12 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 13 of 69
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 14 of 69




                        EXHIBIT 21
                    Case 22-11068-KBO            Doc 27901-8        Filed 11/12/24       Page 15 of 69




From:                               Glueckstein, Brian D. <gluecksteinb@sullcrom.com>
Sent:                               Thursday, October 17, 2024 4:09 PM
To:                                 Taousse, Nacif (NY)
Cc:                                 Goldberg, Adam (NY); Harris, Christopher (NY); Ikeda, Tiffany (CC); Mohebbi, Nima (LA);
                                    Wadier, Sebastien (LA); Zhao, Zijun (NY); Beller, Benjamin S.; Liu, Sienna; Keeley, Julian
                                    M.
Subject:                            RE: FTX/3AC


Further to our prior call, the following is counsel information for the insiders mentioned in communications. We are still
trying to verify contact information for Mr. Tackett and will revert on that shortly.

Sam Bankman-Fried: Marc Phillips at Montgomery McCracken (MPhillips@mmwr.com).
Nishad Singh: Russell Capone at Cooley (RCapone@cooley.com).
Caroline Ellison: Nick Werle at Wilmer Hale (Nick.Werle@wilmerhale.com).
Ryan Salame: Gina Parlovecchio at Mayer Brown (GParlovecchio@mayerbrown.com).

Regards,
Brian


Brian D. Glueckstein
Sullivan & Cromwell LLP
125 Broad Street | New York, NY 10004-2498
+1 212 558 1635 (T) | 917-696-6484 (M)
gluecksteinb@sullcrom.com | www.sullcrom.com




From: Nacif.Taousse@lw.com <Nacif.Taousse@lw.com>
Sent: Friday, October 11, 2024 4:48 PM
To: Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; CHRISTOPHER.HARRIS@lw.com; Tiffany.Ikeda@lw.com; nima.mohebbi@lw.com;
Sebastien.Wadier@lw.com; Zijun.Zhao@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Brian and team,

Thanks for the call earlier today. Based on our conversation, we understand that you agree to the following:

       You will produce today (i) certain previously unproduced communications related to 3AC, (ii) the A&M
        presentation and associated drafts used in preparation for the Sept. 19 deposition, and (iii) the three “publicly
        available” documents that the FTX witness referenced during his testimony;
       You will aim to provide us, at some time next week, with any contact information you’re able to locate for Mr.
        Zane Tackett, as well as counsel information for the other FTX individuals mentioned in the communications
        produced to-date; and
       You will provide us with an answer, also by next week, regarding whether you consent to our claim amendment,
        at which point we can discuss any outstanding scheduling and discovery issues.

                                                               1
                                                                                                                     Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 16 of 69
As discussed, we will also circulate a calendar invite to speak again on Oct. 17 at 4:30 pm ET.

Please let us know of any questions related to the foregoing.

Thanks,

Nacif Taousse

LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
Direct Dial: +1.212.906.1835
Email: nacif.taousse@lw.com
https://www.lw.com [lw.com]

-----Original Appointment-----
From: Taousse, Nacif (NY)
Sent: Friday, October 11, 2024 9:08 AM
To: Taousse, Nacif (NY); Glueckstein, Brian D.; Beller, Benjamin S.; Liu, Sienna; Keeley, Julian M.
Cc: Goldberg, Adam (NY); Harris, Christopher (NY)
Subject: FTX/3AC
When: Friday, October 11, 2024 12:00 PM-12:30 PM (UTC-05:00) Eastern Time (US & Canada).
Where: Microsoft Teams Meeting


________________________________________________________________________________


Microsoft Teams Need help? [aka.ms]
Join the meeting now
Meeting ID: 256 739 636 743
Passcode: 8E8xg2




Dial in by phone
+1 323-694-0354,,100887141# United States, Los Angeles
Find a local number
Phone conference ID: 100 887 141#


For organizers: Meeting options | Reset dial-in PIN

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________________________________________________________________________________




                                                                                                                                                  2
                   Case 22-11068-KBO           Doc 27901-8        Filed 11/12/24      Page 17 of 69
_____________________________________________
From: Harris, Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>
Sent: Friday, October 11, 2024 9:04 AM
To: Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Beller,
Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>;
Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>
Subject: RE: FTX/3AC

Hello
Your belated response does not explain which documents are being produced, which are not, what your position is on
the documents that are not being produced, what search was done, or anything about the contact information we
requested 3 weeks ago. So we do need a call.
Noon works for us; we will send a calendar invite.
Thanks.

Christopher Harris
Pronouns: He/Him/His

LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
Direct Dial: +1.212.906.1880
Email: christopher.harris@lw.com
https://www.lw.com [lw.com]



From: Glueckstein, Brian D. <gluecksteinb@sullcrom.com>
Date: Friday, Oct 11, 2024 at 6:43 AM
To: Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>, Beller, Benjamin S. <bellerb@sullcrom.com>, Liu, Sienna
<lius@sullcrom.com>, Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>, Harris, Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>, Taousse,
Nacif (NY) <Nacif.Taousse@lw.com>, Zhao, Zijun (NY) <Zijun.Zhao@lw.com>, Rosen, Brian (NY) <Brian.Rosen@lw.com>,
Mohebbi, Nima (LA) <nima.mohebbi@lw.com>, Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>
Subject: RE: FTX/3AC

The Debtors do not agree with your characterization of the “missing documents” or the position that you are entitled to
anything you have demanded at this stage. Nonetheless, the Debtors are agreeing to produce certain documents you
requested at Mr. Gordon’s deposition, and will make that production later today.

We are in receipt of the further discovery requests served yesterday morning. We are reviewing them, and the Debtors
will respond to those new discovery requests in due course. Given the current agreement on scheduling, we are not
aware of any urgent scheduling matters requiring the parties to meet and confer on less than 24 hours’ notice, or that
would require involving the Court. If you believe there is such a matter, please advise as to what that is, and we may be
able to meet and confer between 12 and 2pm ET today.

While there is no basis for a motion to compel at this point, if you choose to proceed with filing one, the Debtors do not
agree to any shortening of the notice periods.

Regards,
Brian


                                                             3
                    Case 22-11068-KBO          Doc 27901-8       Filed 11/12/24      Page 18 of 69
Brian D. Glueckstein
Sullivan & Cromwell LLP
125 Broad Street | New York, NY 10004-2498
+1 212 558 1635 (T) | 917-696-6484 (M)
gluecksteinb@sullcrom.com | www.sullcrom.com



From: Sebastien.Wadier@lw.com <Sebastien.Wadier@lw.com>
Sent: Thursday, October 10, 2024 4:25 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com; Zijun.Zhao@lw.com;
Brian.Rosen@lw.com; nima.mohebbi@lw.com; Tiffany.Ikeda@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

Please let us know if you are available for a call today or tomorrow morning to discuss the schedule and outstanding
discovery.

We requested that FTX provide missing documents and witness contact information the day after Robert Gordon’s
deposition, on September 20. Almost three weeks later, we have not received a substantive response. To be clear, we
were entitled to these documents and information under our existing requests served on July 10 and August 7 and
Federal Rule of Evidence 612, but to avoid any ambiguity we have served new requests as well.

In light of FTX’s failure to respond, if we do not have a meet and confer tomorrow, we will file a motion to compel
tomorrow and request a scheduling conference to be heard on shortened notice at the October 22 omnibus hearing.
Please let us know whether you consent or object to have that motion heard on shortened notice.

We look forward to hearing back from you soon.

Best,
Sebastien

Sebastien Wadier

LATHAM & WATKINS LLP
355 South Grand Avenue, Suite 100 | Los Angeles, CA 90071-1560
D: +1.213.891.7915

From: Wadier, Sebastien (LA)
Sent: Wednesday, October 9, 2024 9:27 PM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>;
zzext-landis <landis@lrclaw.com>; zzExt-brown <brown@lrclaw.com>; pierce@lrclaw.com
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>; Alexis R. Gambale <agambale@pashmanstein.com>;
John W. Weiss <jweiss@pashmanstein.com>; Leslie Salcedo <lsalcedo@pashmanstein.com>
Subject: RE: FTX/3AC

Counsel,


                                                           4
                   Case 22-11068-KBO           Doc 27901-8        Filed 11/12/24      Page 19 of 69
You can find the Joint Liquidators’ Third Sets of Requests for Production and Interrogatories attached.

Best,
Sebastien

Sebastien Wadier

LATHAM & WATKINS LLP
355 South Grand Avenue, Suite 100 | Los Angeles, CA 90071-1560
D: +1.213.891.7915

From: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>
Sent: Monday, September 30, 2024 2:10 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Counsel,

We are still waiting for a substantive response to my September 20 email. As one point of clarification, our request for
communications with or concerning 3AC between June 1 and 30, 2022 includes messages from FTX employees’ personal
Telegram, Signal, and other messaging accounts. At deposition, Mr. Gordon testified that the Debtors have not
attempted to collect messages from any FTX employees’ Telegram or other personal messaging accounts. To the extent
the Debtors take the position that these are not in their possession, custody, or control, please let us know.

Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Friday, September 27, 2024 9:40 AM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; 'Liu, Sienna' <lius@sullcrom.com>; 'Glueckstein, Brian D.'
<gluecksteinb@sullcrom.com>; 'Keeley, Julian M.' <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Hi Benjamin,

We have yet to receive the information and documents requested below, or any response from your team. As a result,
and as stated in our last note, we will now require more time beyond October 4 to amend the proof of claim. How much
additional time is required will depend on when the requested information is received.

We’re happy to discuss as needed.

                                                            5
                   Case 22-11068-KBO           Doc 27901-8       Filed 11/12/24      Page 20 of 69


Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Tuesday, September 24, 2024 4:29 PM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Hi Benjamin,

Please let us know what follow up requests you anticipate responding to and when we can expect to receive
documents/information. We need this for our amended proof of claim, which is currently due to be delivered to the
S&C team on October 4. To the extent we do not receive the requested documents/information, including any
deposition, if necessary, sufficiently in advance (and no later than Thursday, September 26), we will require additional
time to provide the proof of claim. We can discuss further if it becomes necessary, but we note that our requests are far
from burdensome and can be delivered easily: three publicly available documents we have asked you to identify, chats
that can be found via a search on Relativity, and the already-prepared A&M work product relied upon to prepare for the
deposition.

With respect to last week’s deposition, we understand that the parties are at an impasse on whether the deposition is
open, and we reserve all rights.

Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Sunday, September 22, 2024 7:32 PM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Tiffany – we confirm receipt of your follow up requests from the deposition and as stated we are taking them under
advisement. However, we do not agree to respond to the requests on your artificial and unnecessarily burdensome

                                                            6
                      Case 22-11068-KBO         Doc 27901-8        Filed 11/12/24       Page 21 of 69
timeline. We will respond as appropriate in due course, including with respect to the appropriateness of your requests
given the procedural status of the claim dispute.

In the interim, please note that, as we expect you are aware, many of the former employees that may have knowledge
of the FTX Debtors’ pre-petition relationship with 3AC either have been convicted of or are under indictment for federal
crimes which has implications for their accessibility.

Finally, we disagree with your asserted basis for purporting to keep Mr. Gordon’s deposition open, consider the
deposition closed, will not present him or any other witness for further examination pursuant to Rule 30(b)(6) without a
court order, and reserve all rights with respect thereto.


Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Friday, September 20, 2024 3:32 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

S&C team,

Thank you for your and Mr. Gordon’s time during yesterday’s deposition. As previewed then, we have certain follow-up
items. They are set forth below:

        We request that the Debtors produce no later than Monday, September 23 the documents that Robert Gordon
         reviewed to prepare for his deposition, including:

              o   The three “publicly available” documents referenced in the deposition, which we understand related to:
                  (1) collateral management; (2) liquidation process; and (3) spot-margin trading program.

              o   Any versions of internal A&M presentations or other work product referenced in the deposition that Mr.
                  Gordon reviewed, which we understand to be at least two, with one prepared around September 10,
                  2024.

        We request that the Debtors conduct a new search for and produce, no later than Friday, September 27, all
         communications with or concerning 3AC between June 1 and 30, 2024, including but not limited to the
         messages sent by Zane Tackett referenced in the exhibits from yesterday’s deposition, FTX_3AC_000000350 and
         1394.

        Please confirm, no later than Monday, September 23, that Debtors’ counsel represents the FTX developer
         named “         and if so, provide his availability for a deposition. Mr. Gordon relied on a conversation with
         for the very limited testimony he was able to offer concerning the disposition of 3AC’s assets. If you do not
         represent        please provide his last known contact information.

        Please provide, no later than Monday, September 23, the last known contact information for Zane Tackett,
         Caroline Ellison, and the other FTX employees listed in FTX_3AC_000001594. Mr. Gordon’s testimony made
         clear that Debtors have made no efforts to contact former employees with relevant knowledge of their
         relationship with 3AC. As a result, 3AC may need to depose these former employees itself.

                                                              7
                   Case 22-11068-KBO           Doc 27901-8       Filed 11/12/24      Page 22 of 69


As agreed, 3AC will deliver to the S&C team an amended proof of claim on October 4, 2024 (i.e., in 2 weeks). Depending
on the discovery items produced in connection with the above, what we learn from those items, and when they are
produced, we may require more time to amend.

We further reiterate that the deponent was not adequately prepared for yesterday’s deposition. The deponent was
unprepared to testify to, inter alia, 3AC’s relationship with FTX (Topic No. 1), the composition of 3AC’s “negative USD
balances” (Topic No. 5), or the disposition of 3AC’s assets (Topic No. 5) because, among other reasons, the Debtors
made no attempt to contact anyone with personal knowledge of the deposition topics. As we stated on the record, we
are accordingly holding his deposition open and reserve all rights.

Regards,
Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Friday, September 13, 2024 2:59 PM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Hi Benjamin,

That works for us. We will plan on starting at 9 am ET on Thursday.

Tiffany

Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Friday, September 13, 2024 2:00 PM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Understood, in that case we suggest starting at 9 ET


                                                           8
                      Case 22-11068-KBO       Doc 27901-8        Filed 11/12/24       Page 23 of 69
Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Friday, September 13, 2024 4:51 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Hi Ben,

We agree to the scheduling proposal in your email for 3AC’s amended proof of claim.

Thanks for providing the deponent’s name and list of attendees for Thursday’s deposition. We are fine with starting at
10 am ET. We are not sure how long the deposition will take, but please have the witness be prepared to stay all day if
needed. We will plan on providing lunch so we can be efficient with our breaks.

Best,
Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Friday, September 13, 2024 10:01 AM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Tiffany – your scheduling proposal works for us except the pending claim objection should be adjourned to the
December 12 omnibus hearing (not sine die), with your opposition due on November 20. This will provide time for any
dispute about an amended claim to be resolved but keeping the objection on calendar. And to be clear this schedule
would apply to the original claim/claim objection with a new schedule to be evaluated in the event you validly file an
amended claim.

Our 30b6 witness is Robert Gordon from A&M. For security, it will be me, Brian Glueckstein and Sienna Liu in
attendance. Should we plan to start the deposition at 10 am ET? And do you have a sense of how much time you expect
to need with the witness?

Thanks,

Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


                                                            9
                    Case 22-11068-KBO           Doc 27901-8        Filed 11/12/24      Page 24 of 69

From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Monday, September 9, 2024 7:50 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

We write concerning the upcoming deposition and a proposal for 3AC’s amended proof of claim.

FTX 30(b)(6) Deposition

For the deposition at Latham’s NY office on September 19, please let us know the name of the witness(es) who will be
testifying on Topics 1-10 and 12-16. Please also provide the names of any other attendees no later than September 18
so we can add them to the security list.

3AC’s Amended Proof of Claim

You will recall that when we previously corresponded regarding scheduling of the 3AC claim objection matters, FTX
provided an extension of 3AC’s response deadline for the claim objection commensurate with the adjournment of
hearing.

With our deposition now being scheduled, we propose the following process in an effort to move forward in an efficient
manner.

         Adjourn 3AC’s deadline to object to FTX’s objection to 3AC’s proof of claim to a date to be determined.
         September 19 – deposition of FTX representative
         October 4 – deadline for 3AC to deliver amended proof of claim to FTX (for avoidance of doubt, not file with the
          bankruptcy court)
         FTX will then respond on whether it will agree that 3AC may amend its proof of claim (subject to the right to
          object).
              o If FTX accepts the filing of the amended proof of claim, the parties enter into a stipulation stating that
                   the filing of the amended claim is acceptable. FTX may then object to the amended proof of claim, with
                   further proceedings to be determined at that stage.
              o If FTX declines to agree to filing of the amended proof of claim, 3AC will file a motion to amend the claim
                   with further proceedings within 10 calendar days of receipt of written notice (via email) of FTX’s
                   decision, and further proceedings on the claim objection would be determined at the time of the court’s
                   ruling on the motion to amend.

Please let us know if this proposal is acceptable at your earliest convenience. We are available to discuss / meet &
confer.

Best,
Tiffany

Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

                                                             10
                      Case 22-11068-KBO        Doc 27901-8       Filed 11/12/24      Page 25 of 69

From: Ikeda, Tiffany (CC)
Sent: Wednesday, September 4, 2024 6:23 PM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>;
Keeley, Julian M. <keeleyj@sullcrom.com>
Subject: RE: FTX/3AC

Hi Benjamin,

We will plan on taking the deposition of the Debtors’ 30(b)(6) witness on September 19 at Latham’s office in NY.

Best,
Tiffany

Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Tuesday, September 3, 2024 10:22 AM
To: Liu, Sienna <lius@sullcrom.com>; Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>;
Keeley, Julian M. <keeleyj@sullcrom.com>
Subject: RE: FTX/3AC

And further to the below, we can make our 30b6 witness available for deposition at S&C’s offices in NY on either
September 18 or 19th. Please let us know.

Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Liu, Sienna <lius@sullcrom.com>
Sent: Tuesday, September 3, 2024 10:07 AM
To: Tiffany.Ikeda@lw.com; Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com; Keeley, Julian M. <keeleyj@sullcrom.com>
Subject: RE: FTX/3AC

Counsel,

Please see attached (I) the Debtors’ responses and objections to 3AC’s second set of discovery requests directed to the
Debtors on August 7, 2024; and (II) the Debtors’ supplemental responses and objections to 3AC’s first set of
interrogatories directed to the Debtors on July 26, 2024.

                                                           11
                   Case 22-11068-KBO             Doc 27901-8        Filed 11/12/24       Page 26 of 69
Best,
Sienna



Sienna Liu
T: (212)558-4087

From: Liu, Sienna
Sent: Wednesday, August 28, 2024 8:38 PM
To: Tiffany.Ikeda@lw.com; Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: RE: FTX/3AC

Counsel,

We are working on responses to your second set of discovery requests, and will revert soon.

For the deposition, we are confirming dates for September, and will get back to you. We will present a witness subject
to all our objections, including both general and specific objections, as set out in our July 26, 2024 R&Os to your first set
of discovery requests and the attached supplemental R&Os to the deposition notice, with the exception of Topic No. 11
(on loans made by Voyager to 3AC).

Best,
Sienna



Sienna Liu
T: (212)558-4087

From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Tuesday, August 27, 2024 8:27 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

In your email dated August 15, you said you anticipated responding to our second set of discovery requests by the end
of last week. We have not received the Debtors’ responses. Can you please let us know when you anticipate serving
them?

Also, please let us know when FTX’s 30(b)(6) witness(es) will be available for deposition the week of September 9. We
expect FTX’s witness(es) to be prepared on all topics listed in 3AC’s July 10, 2024 deposition notice, including Topics 11-
16 for which FTX did not serve any objections.

Tiffany

                                                              12
                      Case 22-11068-KBO        Doc 27901-8        Filed 11/12/24      Page 27 of 69



Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Thursday, August 15, 2024 6:54 AM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

We anticipate responding to your second set of discovery requests by the end of next week. Given the calendar and
schedules, we will get back to you on dates in the first two weeks of September for a deposition. We agree to adjourn
the hearing on our claim objection to the October omnibus hearing with a corresponding extension of 3AC’s response
deadline.

The FTX Debtors do not consent to 3AC filing an amended proof of claim and will oppose any relief sought from the
Court for leave to do so. It is especially difficult for us to even consider consenting when you have not articulated any
claim that you believe is properly asserted against the FTX Debtors, or a basis for leave to amend. We are willing to
consider a request for consent to an amended claim if and when you did so. Otherwise, we suggest you file any motion
to amend the claim so the Court can address it. We do not agree that needs to or should wait until your discovery
efforts are completed, and that process should proceed in parallel.


Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Tuesday, August 13, 2024 6:25 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

I am writing to discuss depo scheduling, FTX’s discovery responses, 3AC’s forthcoming amended proof of claim, and
3AC’s objection to the plan.

    1. Deposition Scheduling: On August 1 and 7, we asked you to check on whether FTX’s 30(b)(6) witness would be
       available for deposition the week of August 19. We have not heard back. Please let us know if FTX’s witness is
       available for deposition on August 21 or 22.

    2. FTX Discovery Responses: On August 7, we served 3AC’s second set of discovery consisting of one RFA, one RFP,
       and two interrogatories, and set the response date for August 13 at 5 pm ET. As that deadline has now passed,

                                                            13
                    Case 22-11068-KBO           Doc 27901-8       Filed 11/12/24      Page 28 of 69
          please let us know when you anticipate being able to provide a substantive response to the discovery. As you
          may expect, we will need responses at least five days before we take FTX’s 30(b)(6) depo.

    3. 3AC’s Forthcoming Amended Proof of Claim: As we discussed on August 1, our plan is to amend 3AC’s proof of
       claim after we take FTX’s deposition. Will you consent to our filing of an amended proof of claim? Alternatively,
       we will need to push back the claim objection deadline further to allow sufficient time to complete the
       deposition, file our amended proof of claim, and then have a hearing on a motion to amend our proof of claim
       before our response to the claim objection is due.

    4. 3AC’s Objection to the Plan: We are planning on filing a limited objection to the plan on the grounds that it
       does not provide for a reserve for disputed claims in an amount sufficient to meet the requirements of section
       1123(a)(4) of the Bankruptcy Code to provide equal distributions for all creditors in the same class. We are open
       to working with you on a resolution that provides notice of the amount of reserves and an opportunity for the
       parties to be heard (if necessary) or reaching an agreement on an extension of the objection deadline, in light of
       our ongoing work towards a claim resolution.

We suggest a meet and confer on Wednesday afternoon (ET) or anytime Thursday. Please let us know what works for
you.

Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Wednesday, August 7, 2024 10:17 AM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; 'Glueckstein, Brian D.' <gluecksteinb@sullcrom.com>; 'Liu, Sienna'
<lius@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>
Subject: FTX/3AC

Counsel,

Please see the attached discovery requests. We have set these for a return date of August 13, but please let us know if
you need more time and if so, when you anticipate being able to provide a substantive response.

During our call last Thursday, we discussed FTX’s objections and responses to 3AC’s discovery requests. You said that
although FTX’s responses to the deposition topics only agreed to meet and confer, FTX was willing to put up a witness on
all topics, with the caveat that you can only educate the witness based on what is known from the documents. As such,
we requested that you check on the witness’s availability for deposition the week of August 19. Can you please let us
know if there are dates during that week that would work for a deposition?

Lastly, we appreciate your offer to work with us on providing the information in FTX_3AC_000000002 in a useable
format. Teneo is trying to address this issue, but we will circle back if we need further assistance.

Best,
Tiffany
                                                            14
                   Case 22-11068-KBO            Doc 27901-8       Filed 11/12/24       Page 29 of 69



Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100
Los Angeles, CA 90067
Direct Dial: +1.424.653.5416
Email: tiffany.ikeda@lw.com
https://www.lw.com [lw.com]


_________________________________

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processed in accordance with the firm's privacy notices and Global Privacy Standards available at www.lw.com
[lw.com].

**This is an external message from: Tiffany.Ikeda@lw.com **


This e-mail is sent by a law firm and contains information that may be privileged and confidential. If you are not the
intended recipient, please delete the e-mail and notify us immediately.




                                                            15
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 30 of 69




                        EXHIBIT 22
                    Case 22-11068-KBO            Doc 27901-8        Filed 11/12/24      Page 31 of 69




From:                               Taousse, Nacif (NY)
Sent:                               Friday, October 11, 2024 4:48 PM
To:                                 Glueckstein, Brian D.; Beller, Benjamin S.; Liu, Sienna; Keeley, Julian M.
Cc:                                 Goldberg, Adam (NY); Harris, Christopher (NY); Ikeda, Tiffany (CC); Mohebbi, Nima (LA);
                                    Wadier, Sebastien (LA); Zhao, Zijun (NY)
Subject:                            RE: FTX/3AC


Brian and team,

Thanks for the call earlier today. Based on our conversation, we understand that you agree to the following:

         You will produce today (i) certain previously unproduced communications related to 3AC, (ii) the A&M
          presentation and associated drafts used in preparation for the Sept. 19 deposition, and (iii) the three “publicly
          available” documents that the FTX witness referenced during his testimony;
         You will aim to provide us, at some time next week, with any contact information you’re able to locate for Mr.
          Zane Tackett, as well as counsel information for the other FTX individuals mentioned in the communications
          produced to-date; and
         You will provide us with an answer, also by next week, regarding whether you consent to our claim amendment,
          at which point we can discuss any outstanding scheduling and discovery issues.

As discussed, we will also circulate a calendar invite to speak again on Oct. 17 at 4:30 pm ET.

Please let us know of any questions related to the foregoing.

Thanks,

Nacif Taousse

LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
Direct Dial: +1.212.906.1835
Email: nacif.taousse@lw.com
https://www.lw.com

-----Original Appointment-----
From: Taousse, Nacif (NY)
Sent: Friday, October 11, 2024 9:08 AM
To: Taousse, Nacif (NY); Glueckstein, Brian D.; Beller, Benjamin S.; Liu, Sienna; Keeley, Julian M.
Cc: Goldberg, Adam (NY); Harris, Christopher (NY)
Subject: FTX/3AC
When: Friday, October 11, 2024 12:00 PM-12:30 PM (UTC-05:00) Eastern Time (US & Canada).
Where: Microsoft Teams Meeting


________________________________________________________________________________


Microsoft Teams Need help?
                                                              1
                                                                                                                     Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 32 of 69

Join the meeting now
Meeting ID: 256 739 636 743
Passcode: 8E8xg2




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For organizers: Meeting options | Reset dial-in PIN

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________________________________________________________________________________




_____________________________________________
From: Harris, Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>
Sent: Friday, October 11, 2024 9:04 AM
To: Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Beller,
Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>;
Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>
Subject: RE: FTX/3AC

Hello
Your belated response does not explain which documents are being produced, which are not, what your position is on
the documents that are not being produced, what search was done, or anything about the contact information we
requested 3 weeks ago. So we do need a call.
Noon works for us; we will send a calendar invite.
Thanks.

Christopher Harris
Pronouns: He/Him/His

LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
Direct Dial: +1.212.906.1880
Email: christopher.harris@lw.com
https://www.lw.com



From: Glueckstein, Brian D. <gluecksteinb@sullcrom.com>
Date: Friday, Oct 11, 2024 at 6:43 AM

                                                                                                                                                  2
                    Case 22-11068-KBO          Doc 27901-8        Filed 11/12/24      Page 33 of 69
To: Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>, Beller, Benjamin S. <bellerb@sullcrom.com>, Liu, Sienna
<lius@sullcrom.com>, Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>, Harris, Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>, Taousse,
Nacif (NY) <Nacif.Taousse@lw.com>, Zhao, Zijun (NY) <Zijun.Zhao@lw.com>, Rosen, Brian (NY) <Brian.Rosen@lw.com>,
Mohebbi, Nima (LA) <nima.mohebbi@lw.com>, Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>
Subject: RE: FTX/3AC

The Debtors do not agree with your characterization of the “missing documents” or the position that you are entitled to
anything you have demanded at this stage. Nonetheless, the Debtors are agreeing to produce certain documents you
requested at Mr. Gordon’s deposition, and will make that production later today.

We are in receipt of the further discovery requests served yesterday morning. We are reviewing them, and the Debtors
will respond to those new discovery requests in due course. Given the current agreement on scheduling, we are not
aware of any urgent scheduling matters requiring the parties to meet and confer on less than 24 hours’ notice, or that
would require involving the Court. If you believe there is such a matter, please advise as to what that is, and we may be
able to meet and confer between 12 and 2pm ET today.

While there is no basis for a motion to compel at this point, if you choose to proceed with filing one, the Debtors do not
agree to any shortening of the notice periods.

Regards,
Brian


Brian D. Glueckstein
Sullivan & Cromwell LLP
125 Broad Street | New York, NY 10004-2498
+1 212 558 1635 (T) | 917-696-6484 (M)
gluecksteinb@sullcrom.com | www.sullcrom.com



From: Sebastien.Wadier@lw.com <Sebastien.Wadier@lw.com>
Sent: Thursday, October 10, 2024 4:25 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com; Zijun.Zhao@lw.com;
Brian.Rosen@lw.com; nima.mohebbi@lw.com; Tiffany.Ikeda@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

Please let us know if you are available for a call today or tomorrow morning to discuss the schedule and outstanding
discovery.

We requested that FTX provide missing documents and witness contact information the day after Robert Gordon’s
deposition, on September 20. Almost three weeks later, we have not received a substantive response. To be clear, we
were entitled to these documents and information under our existing requests served on July 10 and August 7 and
Federal Rule of Evidence 612, but to avoid any ambiguity we have served new requests as well.

In light of FTX’s failure to respond, if we do not have a meet and confer tomorrow, we will file a motion to compel
tomorrow and request a scheduling conference to be heard on shortened notice at the October 22 omnibus hearing.
Please let us know whether you consent or object to have that motion heard on shortened notice.


                                                             3
                   Case 22-11068-KBO           Doc 27901-8        Filed 11/12/24      Page 34 of 69
We look forward to hearing back from you soon.

Best,
Sebastien

Sebastien Wadier

LATHAM & WATKINS LLP
355 South Grand Avenue, Suite 100 | Los Angeles, CA 90071-1560
D: +1.213.891.7915

From: Wadier, Sebastien (LA)
Sent: Wednesday, October 9, 2024 9:27 PM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>;
zzext-landis <landis@lrclaw.com>; zzExt-brown <brown@lrclaw.com>; pierce@lrclaw.com
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>; Alexis R. Gambale <agambale@pashmanstein.com>;
John W. Weiss <jweiss@pashmanstein.com>; Leslie Salcedo <lsalcedo@pashmanstein.com>
Subject: RE: FTX/3AC

Counsel,

You can find the Joint Liquidators’ Third Sets of Requests for Production and Interrogatories attached.

Best,
Sebastien

Sebastien Wadier

LATHAM & WATKINS LLP
355 South Grand Avenue, Suite 100 | Los Angeles, CA 90071-1560
D: +1.213.891.7915

From: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>
Sent: Monday, September 30, 2024 2:10 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Counsel,

We are still waiting for a substantive response to my September 20 email. As one point of clarification, our request for
communications with or concerning 3AC between June 1 and 30, 2022 includes messages from FTX employees’ personal
Telegram, Signal, and other messaging accounts. At deposition, Mr. Gordon testified that the Debtors have not
attempted to collect messages from any FTX employees’ Telegram or other personal messaging accounts. To the extent
the Debtors take the position that these are not in their possession, custody, or control, please let us know.

Tiffany

                                                            4
                   Case 22-11068-KBO           Doc 27901-8       Filed 11/12/24      Page 35 of 69



Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Friday, September 27, 2024 9:40 AM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; 'Liu, Sienna' <lius@sullcrom.com>; 'Glueckstein, Brian D.'
<gluecksteinb@sullcrom.com>; 'Keeley, Julian M.' <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Hi Benjamin,

We have yet to receive the information and documents requested below, or any response from your team. As a result,
and as stated in our last note, we will now require more time beyond October 4 to amend the proof of claim. How much
additional time is required will depend on when the requested information is received.

We’re happy to discuss as needed.

Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Tuesday, September 24, 2024 4:29 PM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Hi Benjamin,

Please let us know what follow up requests you anticipate responding to and when we can expect to receive
documents/information. We need this for our amended proof of claim, which is currently due to be delivered to the
S&C team on October 4. To the extent we do not receive the requested documents/information, including any
deposition, if necessary, sufficiently in advance (and no later than Thursday, September 26), we will require additional
time to provide the proof of claim. We can discuss further if it becomes necessary, but we note that our requests are far
from burdensome and can be delivered easily: three publicly available documents we have asked you to identify, chats
that can be found via a search on Relativity, and the already-prepared A&M work product relied upon to prepare for the
deposition.

                                                            5
                      Case 22-11068-KBO       Doc 27901-8        Filed 11/12/24      Page 36 of 69


With respect to last week’s deposition, we understand that the parties are at an impasse on whether the deposition is
open, and we reserve all rights.

Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Sunday, September 22, 2024 7:32 PM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Tiffany – we confirm receipt of your follow up requests from the deposition and as stated we are taking them under
advisement. However, we do not agree to respond to the requests on your artificial and unnecessarily burdensome
timeline. We will respond as appropriate in due course, including with respect to the appropriateness of your requests
given the procedural status of the claim dispute.

In the interim, please note that, as we expect you are aware, many of the former employees that may have knowledge
of the FTX Debtors’ pre-petition relationship with 3AC either have been convicted of or are under indictment for federal
crimes which has implications for their accessibility.

Finally, we disagree with your asserted basis for purporting to keep Mr. Gordon’s deposition open, consider the
deposition closed, will not present him or any other witness for further examination pursuant to Rule 30(b)(6) without a
court order, and reserve all rights with respect thereto.


Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Friday, September 20, 2024 3:32 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

S&C team,

Thank you for your and Mr. Gordon’s time during yesterday’s deposition. As previewed then, we have certain follow-up
items. They are set forth below:



                                                            6
                   Case 22-11068-KBO           Doc 27901-8        Filed 11/12/24       Page 37 of 69
       We request that the Debtors produce no later than Monday, September 23 the documents that Robert Gordon
        reviewed to prepare for his deposition, including:

            o   The three “publicly available” documents referenced in the deposition, which we understand related to:
                (1) collateral management; (2) liquidation process; and (3) spot-margin trading program.

            o   Any versions of internal A&M presentations or other work product referenced in the deposition that Mr.
                Gordon reviewed, which we understand to be at least two, with one prepared around September 10,
                2024.

       We request that the Debtors conduct a new search for and produce, no later than Friday, September 27, all
        communications with or concerning 3AC between June 1 and 30, 2024, including but not limited to the
        messages sent by Zane Tackett referenced in the exhibits from yesterday’s deposition, FTX_3AC_000000350 and
        1394.

       Please confirm, no later than Monday, September 23, that Debtors’ counsel represents the FTX developer
        named “         and if so, provide his availability for a deposition. Mr. Gordon relied on a conversation with
        for the very limited testimony he was able to offer concerning the disposition of 3AC’s assets. If you do not
        represent        please provide his last known contact information.

       Please provide, no later than Monday, September 23, the last known contact information for Zane Tackett,
        Caroline Ellison, and the other FTX employees listed in FTX_3AC_000001594. Mr. Gordon’s testimony made
        clear that Debtors have made no efforts to contact former employees with relevant knowledge of their
        relationship with 3AC. As a result, 3AC may need to depose these former employees itself.

As agreed, 3AC will deliver to the S&C team an amended proof of claim on October 4, 2024 (i.e., in 2 weeks). Depending
on the discovery items produced in connection with the above, what we learn from those items, and when they are
produced, we may require more time to amend.

We further reiterate that the deponent was not adequately prepared for yesterday’s deposition. The deponent was
unprepared to testify to, inter alia, 3AC’s relationship with FTX (Topic No. 1), the composition of 3AC’s “negative USD
balances” (Topic No. 5), or the disposition of 3AC’s assets (Topic No. 5) because, among other reasons, the Debtors
made no attempt to contact anyone with personal knowledge of the deposition topics. As we stated on the record, we
are accordingly holding his deposition open and reserve all rights.

Regards,
Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Friday, September 13, 2024 2:59 PM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC
                                                             7
                      Case 22-11068-KBO        Doc 27901-8       Filed 11/12/24       Page 38 of 69


Hi Benjamin,

That works for us. We will plan on starting at 9 am ET on Thursday.

Tiffany

Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Friday, September 13, 2024 2:00 PM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Understood, in that case we suggest starting at 9 ET

Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Friday, September 13, 2024 4:51 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Hi Ben,

We agree to the scheduling proposal in your email for 3AC’s amended proof of claim.

Thanks for providing the deponent’s name and list of attendees for Thursday’s deposition. We are fine with starting at
10 am ET. We are not sure how long the deposition will take, but please have the witness be prepared to stay all day if
needed. We will plan on providing lunch so we can be efficient with our breaks.

Best,
Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609



                                                            8
                      Case 22-11068-KBO         Doc 27901-8        Filed 11/12/24      Page 39 of 69

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Friday, September 13, 2024 10:01 AM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

Tiffany – your scheduling proposal works for us except the pending claim objection should be adjourned to the
December 12 omnibus hearing (not sine die), with your opposition due on November 20. This will provide time for any
dispute about an amended claim to be resolved but keeping the objection on calendar. And to be clear this schedule
would apply to the original claim/claim objection with a new schedule to be evaluated in the event you validly file an
amended claim.

Our 30b6 witness is Robert Gordon from A&M. For security, it will be me, Brian Glueckstein and Sienna Liu in
attendance. Should we plan to start the deposition at 10 am ET? And do you have a sense of how much time you expect
to need with the witness?

Thanks,

Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Monday, September 9, 2024 7:50 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

We write concerning the upcoming deposition and a proposal for 3AC’s amended proof of claim.

FTX 30(b)(6) Deposition

For the deposition at Latham’s NY office on September 19, please let us know the name of the witness(es) who will be
testifying on Topics 1-10 and 12-16. Please also provide the names of any other attendees no later than September 18
so we can add them to the security list.

3AC’s Amended Proof of Claim

You will recall that when we previously corresponded regarding scheduling of the 3AC claim objection matters, FTX
provided an extension of 3AC’s response deadline for the claim objection commensurate with the adjournment of
hearing.

With our deposition now being scheduled, we propose the following process in an effort to move forward in an efficient
manner.

         Adjourn 3AC’s deadline to object to FTX’s objection to 3AC’s proof of claim to a date to be determined.
                                                              9
                    Case 22-11068-KBO           Doc 27901-8        Filed 11/12/24      Page 40 of 69
         September 19 – deposition of FTX representative
         October 4 – deadline for 3AC to deliver amended proof of claim to FTX (for avoidance of doubt, not file with the
          bankruptcy court)
         FTX will then respond on whether it will agree that 3AC may amend its proof of claim (subject to the right to
          object).
              o If FTX accepts the filing of the amended proof of claim, the parties enter into a stipulation stating that
                   the filing of the amended claim is acceptable. FTX may then object to the amended proof of claim, with
                   further proceedings to be determined at that stage.
              o If FTX declines to agree to filing of the amended proof of claim, 3AC will file a motion to amend the claim
                   with further proceedings within 10 calendar days of receipt of written notice (via email) of FTX’s
                   decision, and further proceedings on the claim objection would be determined at the time of the court’s
                   ruling on the motion to amend.

Please let us know if this proposal is acceptable at your earliest convenience. We are available to discuss / meet &
confer.

Best,
Tiffany

Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Wednesday, September 4, 2024 6:23 PM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; Liu, Sienna <lius@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>;
Keeley, Julian M. <keeleyj@sullcrom.com>
Subject: RE: FTX/3AC

Hi Benjamin,

We will plan on taking the deposition of the Debtors’ 30(b)(6) witness on September 19 at Latham’s office in NY.

Best,
Tiffany

Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Tuesday, September 3, 2024 10:22 AM
To: Liu, Sienna <lius@sullcrom.com>; Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,

                                                             10
                      Case 22-11068-KBO          Doc 27901-8        Filed 11/12/24       Page 41 of 69
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>;
Keeley, Julian M. <keeleyj@sullcrom.com>
Subject: RE: FTX/3AC

And further to the below, we can make our 30b6 witness available for deposition at S&C’s offices in NY on either
September 18 or 19th. Please let us know.

Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Liu, Sienna <lius@sullcrom.com>
Sent: Tuesday, September 3, 2024 10:07 AM
To: Tiffany.Ikeda@lw.com; Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com; Keeley, Julian M. <keeleyj@sullcrom.com>
Subject: RE: FTX/3AC

Counsel,

Please see attached (I) the Debtors’ responses and objections to 3AC’s second set of discovery requests directed to the
Debtors on August 7, 2024; and (II) the Debtors’ supplemental responses and objections to 3AC’s first set of
interrogatories directed to the Debtors on July 26, 2024.

Best,
Sienna



Sienna Liu
T: (212)558-4087

From: Liu, Sienna
Sent: Wednesday, August 28, 2024 8:38 PM
To: Tiffany.Ikeda@lw.com; Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: RE: FTX/3AC

Counsel,

We are working on responses to your second set of discovery requests, and will revert soon.

For the deposition, we are confirming dates for September, and will get back to you. We will present a witness subject
to all our objections, including both general and specific objections, as set out in our July 26, 2024 R&Os to your first set
of discovery requests and the attached supplemental R&Os to the deposition notice, with the exception of Topic No. 11
(on loans made by Voyager to 3AC).

Best,
Sienna

                                                              11
                   Case 22-11068-KBO            Doc 27901-8        Filed 11/12/24      Page 42 of 69




Sienna Liu
T: (212)558-4087

From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Tuesday, August 27, 2024 8:27 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

In your email dated August 15, you said you anticipated responding to our second set of discovery requests by the end
of last week. We have not received the Debtors’ responses. Can you please let us know when you anticipate serving
them?

Also, please let us know when FTX’s 30(b)(6) witness(es) will be available for deposition the week of September 9. We
expect FTX’s witness(es) to be prepared on all topics listed in 3AC’s July 10, 2024 deposition notice, including Topics 11-
16 for which FTX did not serve any objections.

Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Beller, Benjamin S. <bellerb@sullcrom.com>
Sent: Thursday, August 15, 2024 6:54 AM
To: Ikeda, Tiffany (CC) <Tiffany.Ikeda@lw.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Rosen, Brian (NY) <Brian.Rosen@lw.com>
Subject: RE: FTX/3AC

We anticipate responding to your second set of discovery requests by the end of next week. Given the calendar and
schedules, we will get back to you on dates in the first two weeks of September for a deposition. We agree to adjourn
the hearing on our claim objection to the October omnibus hearing with a corresponding extension of 3AC’s response
deadline.

The FTX Debtors do not consent to 3AC filing an amended proof of claim and will oppose any relief sought from the
Court for leave to do so. It is especially difficult for us to even consider consenting when you have not articulated any
claim that you believe is properly asserted against the FTX Debtors, or a basis for leave to amend. We are willing to
consider a request for consent to an amended claim if and when you did so. Otherwise, we suggest you file any motion
to amend the claim so the Court can address it. We do not agree that needs to or should wait until your discovery
efforts are completed, and that process should proceed in parallel.
                                                             12
                      Case 22-11068-KBO       Doc 27901-8        Filed 11/12/24      Page 43 of 69



Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Tuesday, August 13, 2024 6:25 PM
To: Beller, Benjamin S. <bellerb@sullcrom.com>; Glueckstein, Brian D. <gluecksteinb@sullcrom.com>; Liu, Sienna
<lius@sullcrom.com>
Cc: Adam.Goldberg@lw.com; nima.mohebbi@lw.com; CHRISTOPHER.HARRIS@lw.com; Nacif.Taousse@lw.com;
Zijun.Zhao@lw.com; Sebastien.Wadier@lw.com; Brian.Rosen@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

I am writing to discuss depo scheduling, FTX’s discovery responses, 3AC’s forthcoming amended proof of claim, and
3AC’s objection to the plan.

    1. Deposition Scheduling: On August 1 and 7, we asked you to check on whether FTX’s 30(b)(6) witness would be
       available for deposition the week of August 19. We have not heard back. Please let us know if FTX’s witness is
       available for deposition on August 21 or 22.

    2. FTX Discovery Responses: On August 7, we served 3AC’s second set of discovery consisting of one RFA, one RFP,
       and two interrogatories, and set the response date for August 13 at 5 pm ET. As that deadline has now passed,
       please let us know when you anticipate being able to provide a substantive response to the discovery. As you
       may expect, we will need responses at least five days before we take FTX’s 30(b)(6) depo.

    3. 3AC’s Forthcoming Amended Proof of Claim: As we discussed on August 1, our plan is to amend 3AC’s proof of
       claim after we take FTX’s deposition. Will you consent to our filing of an amended proof of claim? Alternatively,
       we will need to push back the claim objection deadline further to allow sufficient time to complete the
       deposition, file our amended proof of claim, and then have a hearing on a motion to amend our proof of claim
       before our response to the claim objection is due.

    4. 3AC’s Objection to the Plan: We are planning on filing a limited objection to the plan on the grounds that it
       does not provide for a reserve for disputed claims in an amount sufficient to meet the requirements of section
       1123(a)(4) of the Bankruptcy Code to provide equal distributions for all creditors in the same class. We are open
       to working with you on a resolution that provides notice of the amount of reserves and an opportunity for the
       parties to be heard (if necessary) or reaching an agreement on an extension of the objection deadline, in light of
       our ongoing work towards a claim resolution.

We suggest a meet and confer on Wednesday afternoon (ET) or anytime Thursday. Please let us know what works for
you.

Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609



                                                           13
                   Case 22-11068-KBO          Doc 27901-8        Filed 11/12/24      Page 44 of 69

From: Ikeda, Tiffany (CC)
Sent: Wednesday, August 7, 2024 10:17 AM
To: 'Beller, Benjamin S.' <bellerb@sullcrom.com>; 'Glueckstein, Brian D.' <gluecksteinb@sullcrom.com>; 'Liu, Sienna'
<lius@sullcrom.com>
Cc: Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Mohebbi, Nima (LA) <nima.mohebbi@lw.com>; Harris,
Christopher (NY) <CHRISTOPHER.HARRIS@lw.com>; Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Zhao, Zijun (NY)
<Zijun.Zhao@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>
Subject: FTX/3AC

Counsel,

Please see the attached discovery requests. We have set these for a return date of August 13, but please let us know if
you need more time and if so, when you anticipate being able to provide a substantive response.

During our call last Thursday, we discussed FTX’s objections and responses to 3AC’s discovery requests. You said that
although FTX’s responses to the deposition topics only agreed to meet and confer, FTX was willing to put up a witness on
all topics, with the caveat that you can only educate the witness based on what is known from the documents. As such,
we requested that you check on the witness’s availability for deposition the week of August 19. Can you please let us
know if there are dates during that week that would work for a deposition?

Lastly, we appreciate your offer to work with us on providing the information in FTX_3AC_000000002 in a useable
format. Teneo is trying to address this issue, but we will circle back if we need further assistance.

Best,
Tiffany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100
Los Angeles, CA 90067
Direct Dial: +1.424.653.5416
Email: tiffany.ikeda@lw.com
https://www.lw.com [lw.com]


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[lw.com].

**This is an external message from: Tiffany.Ikeda@lw.com **


                                                           14
                   Case 22-11068-KBO            Doc 27901-8       Filed 11/12/24       Page 45 of 69
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                                                            15
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 46 of 69




                        EXHIBIT 23
                   Case 22-11068-KBO          Doc 27901-8         Filed 11/12/24       Page 47 of 69




From:                            Ikeda, Tiffany (CC)
Sent:                            Friday, November 1, 2024 11:29 AM
To:                              Liu, Sienna; Beller, Benjamin S.; Darby, Samuel G.; Keeley, Julian M.; Glueckstein, Brian D.
Cc:                              Taousse, Nacif (NY); Goldberg, Adam (NY); Harris, Christopher (NY); Wadier, Sebastien
                                 (LA); Mitchell, Sarah (LA); Zhao, Zijun (NY)
Subject:                         RE: FTX/3AC


Counsel,

I am wri ng to follow up on my email from October 28. Further to that email, we reiterate our requests that you
promptly:

   1. Confirm you will re-conduct a thorough document search and provide a summary of the steps taken to identify
      the responsive documents, including the search terms used.
   2. Produce (a) unredacted copies of FTX_3AC_000013888 and -13890 or confirm that the document was shown to
      Mr. Gordon during his deposition with these redactions and (b) a privilege log.
   3. Provide contact information for Zane Tackett.

Thanks,
Tiﬀany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Monday, October 28, 2024 4:45 PM
To: 'Liu, Sienna' <lius@sullcrom.com>; Beller, Benjamin S. <bellerb@sullcrom.com>; Darby, Samuel G.
<darbys@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; zzext-landis <landis@lrclaw.com>; zzExt-brown <brown@lrclaw.com>;
pierce@lrclaw.com
Cc: Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Harris, Christopher
(NY) <CHRISTOPHER.HARRIS@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Mitchell, Sarah (LA)
<Sarah.Mitchell@lw.com>; Zhao, Zijun (NY) <Zijun.Zhao@lw.com>; Alexis R. Gambale <agambale@pashmanstein.com>;
John W. Weiss <jweiss@pashmanstein.com>; Leslie Salcedo <lsalcedo@pashmanstein.com>
Subject: FTX/3AC

Counsel,

We have reviewed the FTX’s Seventh Produc on. We have a few follow-up items as set forth below.

First, you stated in your cover le er that the produc on completes the FTX Debtors’ produc on and response to the
Supplemental Document Requests. However, our review iden ﬁed responsive messages not produced. For example,
FTX_3AC_000013874 references the communica on between Zane Tacke and a customer inquiring about a
prospec ve LOC. FTX_3AC_000013911. Tacke said: “We want ﬁrms to trade as much as possible, so blowing up their
account doesn’t help anyone. … In my 2 ½ years at FTX, we’ve liquidated one account with an LoC and that was because
                                                            1
                   Case 22-11068-KBO           Doc 27901-8       Filed 11/12/24      Page 48 of 69
we couldn’t get a response from them despite countless a empts, and was due to the Luna meltdown (I’m sure you can
guess who the client was).” This communica on is clearly responsive to our document requests. See, e.g., RFP 5 (“All
Documents and Communica ons rela ng to the transac ons (including without limita on any sales, liquida ons, or
purported foreclosures by FTX) that resulted in the disposi on of 1.015 billion U.S. Dollars in tokens from June 12, 2022
to June 15, 2022, as reﬂected in FTX_3AC_00000038.”). Your inability to produce this clearly responsive document
suggests that the document search is incomplete. Therefore, we request that you re-conduct a thorough document
search and provide a summary of the steps taken to iden fy the responsive documents, including a list of the search
terms u lized.

Second, we no ced two privilege redac ons in FTX_3AC_000013874, speciﬁcally on FTX_3AC_000013888 and -
13890. We request an unredacted copy of this document unless you can conﬁrm that the document that was shown to
Mr. Robert Gordon during his deposi on prepara on was already redacted as is. We further request that you provide a
privilege log, iden fying the basis of your privilege redac ons. In addi on, we no ced substan al redac ons of alleged
sensi ve informa on. See, e.g., FTX_3AC_000013838, FTX_3AC_000013839, FTX_3AC_000013842,
FTX_3AC_000013843. Please explain the basis of those redac ons.

Third, we are following up again on the contact informa on of Zane Tacke . Please provide as soon as you can a er
verifying the informa on.

Lastly, a ached please a deposi on no ce for             . We have no ced the deposi on for November 25, but are
open to picking a diﬀerent date based on the witness’s availability.

Thanks,
Tiﬀany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100
Los Angeles, CA 90067
Direct Dial: +1.424.653.5416
Email: tiffany.ikeda@lw.com
https://www.lw.com




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Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 49 of 69




                        EXHIBIT 24
                  Case 22-11068-KBO            Doc 27901-8         Filed 11/12/24       Page 50 of 69




From:                             Beller, Benjamin S. <bellerb@sullcrom.com>
Sent:                             Monday, November 4, 2024 10:46 AM
To:                               Ikeda, Tiffany (CC); Liu, Sienna; Darby, Samuel G.; Keeley, Julian M.; Glueckstein, Brian D.
Cc:                               Taousse, Nacif (NY); Goldberg, Adam (NY); Harris, Christopher (NY); Wadier, Sebastien
                                  (LA); Mitchell, Sarah (LA); Zhao, Zijun (NY)
Subject:                          RE: FTX/3AC


Counsel,

As a response to your speciﬁc points from your email dated Monday, October 28, 2024:

       The Debtors disagree with your characteriza on that the Zane Tacke communica on referenced in
        FTX_3AC_000013911 is “clearly responsive” to RFP 5 (or any other discovery request) and with your asser on
        that the Debtors’ extensive searches in response to the Joint Liquidators’ mul ple rounds of serial discovery
        requests (which appear to be ongoing and to have no end) have been inadequate or insuﬃcient. As you
        acknowledge, the referenced communica on was between Zane Tacke and a third-party unrelated to the
        Debtors or 3AC with respect to the Debtors’ rela onship with that third-party. In that communica on, Mr.
        Tacke passingly refers to the liquida on of an account that beneﬁ ed from an “LOC” a er the customer failed
        to respond to no ces from the exchange. There is no reference to 3AC nor is there any substan ve discussion of
        the account, the account holder, the liquida on or the transac ons underlying the liquida on. A passing
        reference in a non-party communica on to what might be the 3AC customer account and liquida on does not
        render the communica on “relate[d] to the transac ons” contemplated by RFP No. 5. In addi on, because the
        communica on does not contain any reference to 3AC, the communica on did not hit on the Debtors’ mul ple
        searches throughout the informal and formal discovery process with 3AC. Through those searches, the Debtors
        have applied broad search terms (see below) to the Debtors’ extensive document produc on repository in
        accordance with Debtors’ obliga ons. As you should recall, the Debtors in fact discussed the general scope of
        these search terms with counsel to the Joint Liquidators in connec on with the informal diligence requests in or
        around December 2023. There is no ques on that the Debtors’ searches to date have been en rely reasonable
        in response to 3AC’s requests. The Debtors will provide you with the referenced communica on as a courtesy
        even though it would not have even been responsive to any request had the document been originally
        iden ﬁed.

        More fundamentally, your asser on that the Debtors have not conducted reasonable searches is en rely belied
        by the history of the discovery process to date. Over the past year, the Debtors made seven produc ons
        consis ng of 13,939 pages of materials in response to your informal diligence requests and your formal
        document requests. The Debtors also responded to your several rounds of follow-up document requests, for
        which you’ve repeatedly set unreasonable deadlines of ﬁve or six days inconsistent with applicable rules. And
        just in the past two months, you have sent follow-up discovery requests right a er the 30(b)(6) deposi on by
        email, to be expanded with formal ones with an even broader scope, and then, 22 days later, you served
        another round of discovery requests that again expands the scope of discovery. You served the latest two sets
        of formal discovery requests all while the claim objec on to your original proofs of claim has been taken oﬀ the
        calendar in an cipa on of the Joint Liquidators’ mo on to amend the original proofs of claim, which you s ll
        haven’t ﬁled, so it is unclear to us what the discovery at this point is even connected to. The Debtors maintain
        that the Joint Liquidators have failed to state an ac onable claim complaint with the court-ordered Bar Date,
        and do not intend to con nue to respond to unbridled discovery un l that issue is resolved.

        Given the above, the Debtors will not conduct any re-searches in connec on with any previous discovery, and
        reserve all rights with respect to 3AC’s discovery requests (both previous and future).

                                                             1
                      Case 22-11068-KBO        Doc 27901-8       Filed 11/12/24    Page 51 of 69


         Mr. Gordon reviewed an unredacted version of FTX_3AC_000013874. The two redacted por ons of the deck
          contain A&M’s ini al views to S&C on the interrogatories. Those views are supplanted by the Debtors’ actual
          responses to the interrogatories and RFPs and therefore are not relevant for Mr. Gordon’s views on the
          interrogatory responses and are otherwise protected by the a orney-work product doctrine. The Debtors will
          not produce informa on protected by the a orney-work product doctrine. We will provide a log iden fying the
          basis for privilege redac ons in due course. Redac ons to other documents you iden ﬁed include sensi ve
          account and loan informa on with other customers and counterpar es that has no relevance to any issue
          between 3AC and the Debtors, and were redacted on privacy grounds.

         See below the contact informa on for Zane Tacke . As you are aware, 3AC has an obliga on to inform the
          Debtors of any formal contact with Mr. Tacke .

          tacke .zane@gmail.com
          (720)263-6274
          5229 CR 5, Erie, CO 80516

         Finally, we conﬁrm receipt of your no ce of deposi on of         . We’ll get back to you on dates once
          we’ve conferred with the witness. As men oned,             remains an employee of the Debtors and is being
          represented by S&C in this ma er.

************************************
Search Terms:
     Three Arrows
     3AC
     ThreeAC
     @threearrowscap.com

Benjamin S. Beller
+1 212 558 3334 (T) | +1 917 660 0174 (M)


From: Tiffany.Ikeda@lw.com <Tiffany.Ikeda@lw.com>
Sent: Friday, November 1, 2024 11:29 AM
To: Liu, Sienna <lius@sullcrom.com>; Beller, Benjamin S. <bellerb@sullcrom.com>; Darby, Samuel G.
<darbys@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>
Cc: Nacif.Taousse@lw.com; Adam.Goldberg@lw.com; CHRISTOPHER.HARRIS@lw.com; Sebastien.Wadier@lw.com;
Sarah.Mitchell@lw.com; Zijun.Zhao@lw.com
Subject: [EXTERNAL] RE: FTX/3AC

Counsel,

I am wri ng to follow up on my email from October 28. Further to that email, we reiterate our requests that you
promptly:

    1. Confirm you will re-conduct a thorough document search and provide a summary of the steps taken to identify
       the responsive documents, including the search terms used.
    2. Produce (a) unredacted copies of FTX_3AC_000013888 and -13890 or confirm that the document was shown to
       Mr. Gordon during his deposition with these redactions and (b) a privilege log.
    3. Provide contact information for Zane Tackett.

Thanks,
                                                            2
                   Case 22-11068-KBO           Doc 27901-8       Filed 11/12/24      Page 52 of 69
Tiﬀany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5416 | M: +1.213.507.4609

From: Ikeda, Tiffany (CC)
Sent: Monday, October 28, 2024 4:45 PM
To: 'Liu, Sienna' <lius@sullcrom.com>; Beller, Benjamin S. <bellerb@sullcrom.com>; Darby, Samuel G.
<darbys@sullcrom.com>; Keeley, Julian M. <keeleyj@sullcrom.com>; Glueckstein, Brian D.
<gluecksteinb@sullcrom.com>; zzext-landis <landis@lrclaw.com>; zzExt-brown <brown@lrclaw.com>;
pierce@lrclaw.com
Cc: Taousse, Nacif (NY) <Nacif.Taousse@lw.com>; Goldberg, Adam (NY) <Adam.Goldberg@lw.com>; Harris, Christopher
(NY) <CHRISTOPHER.HARRIS@lw.com>; Wadier, Sebastien (LA) <Sebastien.Wadier@lw.com>; Mitchell, Sarah (LA)
<Sarah.Mitchell@lw.com>; Zhao, Zijun (NY) <Zijun.Zhao@lw.com>; Alexis R. Gambale <agambale@pashmanstein.com>;
John W. Weiss <jweiss@pashmanstein.com>; Leslie Salcedo <lsalcedo@pashmanstein.com>
Subject: FTX/3AC

Counsel,

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First, you stated in your cover le er that the produc on completes the FTX Debtors’ produc on and response to the
Supplemental Document Requests. However, our review iden ﬁed responsive messages not produced. For example,
FTX_3AC_000013874 references the communica on between Zane Tacke and a customer inquiring about a
prospec ve LOC. FTX_3AC_000013911. Tacke said: “We want ﬁrms to trade as much as possible, so blowing up their
account doesn’t help anyone. … In my 2 ½ years at FTX, we’ve liquidated one account with an LoC and that was because
we couldn’t get a response from them despite countless a empts, and was due to the Luna meltdown (I’m sure you can
guess who the client was).” This communica on is clearly responsive to our document requests. See, e.g., RFP 5 (“All
Documents and Communica ons rela ng to the transac ons (including without limita on any sales, liquida ons, or
purported foreclosures by FTX) that resulted in the disposi on of 1.015 billion U.S. Dollars in tokens from June 12, 2022
to June 15, 2022, as reﬂected in FTX_3AC_00000038.”). Your inability to produce this clearly responsive document
suggests that the document search is incomplete. Therefore, we request that you re-conduct a thorough document
search and provide a summary of the steps taken to iden fy the responsive documents, including a list of the search
terms u lized.

Second, we no ced two privilege redac ons in FTX_3AC_000013874, speciﬁcally on FTX_3AC_000013888 and -
13890. We request an unredacted copy of this document unless you can conﬁrm that the document that was shown to
Mr. Robert Gordon during his deposi on prepara on was already redacted as is. We further request that you provide a
privilege log, iden fying the basis of your privilege redac ons. In addi on, we no ced substan al redac ons of alleged
sensi ve informa on. See, e.g., FTX_3AC_000013838, FTX_3AC_000013839, FTX_3AC_000013842,
FTX_3AC_000013843. Please explain the basis of those redac ons.

Third, we are following up again on the contact informa on of Zane Tacke . Please provide as soon as you can a er
verifying the informa on.

Lastly, a ached please a deposi on no ce for             . We have no ced the deposi on for November 25, but are
open to picking a diﬀerent date based on the witness’s availability.

Thanks,
                                                            3
                   Case 22-11068-KBO        Doc 27901-8       Filed 11/12/24     Page 53 of 69
Tiﬀany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100
Los Angeles, CA 90067
Direct Dial: +1.424.653.5416
Email: tiffany.ikeda@lw.com
https://www.lw.com [lw.com]

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are not the intended recipient, please delete the e-mail and notify us immediately.




                                                         4
Case 22-11068-KBO   Doc 27901-8   Filed 11/12/24   Page 54 of 69




                        EXHIBIT 25
                   Case 22-11068-KBO          Doc 27901-8         Filed 11/12/24        Page 55 of 69




From:                            Ikeda, Tiffany (CC)
Sent:                            Friday, November 1, 2024 6:37 PM
To:                              'Liu, Sienna'; 'Beller, Benjamin S.'; 'Darby, Samuel G.'; 'Keeley, Julian M.'; 'Glueckstein,
                                 Brian D.'; 'zzext-landis'; 'zzExt-brown'; 'pierce@lrclaw.com'
Cc:                              Taousse, Nacif (NY); Goldberg, Adam (NY); Harris, Christopher (NY); Wadier, Sebastien
                                 (LA); Mitchell, Sarah (LA); Zhao, Zijun (NY); 'Alexis R. Gambale'; 'John W. Weiss'; 'Leslie
                                 Salcedo'
Subject:                         FTX/3AC
Attachments:                     2024.11.01 3AC - Fourth Set of Interrogatories to FTX.pdf; 2024.11.01 3AC - Fourth Set
                                 of RFPs to FTX.pdf


Counsel,

For service, please see the a ached Fourth Set of Interrogatories and Forth Set of Requests for Produc on.

Thanks,
Tiﬀany


Tiffany M. Ikeda

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100
Los Angeles, CA 90067
Direct Dial: +1.424.653.5416
Email: tiffany.ikeda@lw.com
https://www.lw.com




                                                            1
              Case 22-11068-KBO              Doc 27901-8         Filed 11/12/24        Page 56 of 69




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    ---------------------------------------------------------- x
                                                               :
    In re:                                                     : Chapter 11
                                                               :
    FTX TRADING LTD., et al.,1                                 : Case No. 22-11068 (JTD)
                                                               :
                        Debtors.                               : (Jointly Administered)
                                                               :
    ---------------------------------------------------------- x

          THE JOINT LIQUIDATORS OF THREE ARROWS CAPITAL, LTD.’S
             FOURTH SET OF REQUESTS FOR THE PRODUCTION OF
                   DOCUMENTS DIRECTED TO THE DEBTORS

           PLEASE TAKE NOTICE that, in connection with the above-captioned proceeding,

pursuant to Federal Rule of Civil Procedure 34 made applicable to this contested matter by

Federal Rules of Bankruptcy Procedure 7034 and 9014(c), and the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

“Local Rules”), Russell Crumpler and Christopher Farmer (the “Joint Liquidators”), in their joint

capacities as the duly authorized foreign representatives of Three Arrows Capital, Ltd. (“3AC”),

hereby demand FTX Trading Ltd. and its debtor affiliates (collectively, the “Debtors”) provide

written responses to the following requests for production (the “Requests”), and produce the

documents at the offices of Pashman Stein Walder Hayden, P.C., 824 North Market Street, Suite

800, Wilmington, DE 19801 no later than 5:00 p.m. Eastern Time on November 8, 2024, or at

a date, time, and location that is mutually agreeable to the parties.




1
       The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
       4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
       FTX Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
       complete list of such information may be obtained on the website of the FTX Debtors’ claims and noticing
       agent at https://cases.ra.kroll.com/FTX.
            Case 22-11068-KBO       Doc 27901-8       Filed 11/12/24    Page 57 of 69




       I.      DEFINITIONS

       Notwithstanding any definition below, each word, term, or phrase used in these Requests

is intended to have the broadest meaning permitted under the Federal Rules of Civil Procedure

and the Local Rules.

       1.      “3AC” refers to Three Arrows Capital, Ltd., incorporated as a business company

under the laws of the British Virgin Islands on May 3, 2012, and without limitation any affiliates,

agents, representatives, employees, attorneys, accountants, investigators, consultants, and any

other person or entity acting on its behalf, including without limitation Three Arrows Capital Pte.

Ltd., incorporated as a business under the laws of Singapore in 2012, Three AC Ltd., Kyle

Davies, and Su Zhu.

       2.      “Communication” shall mean transmittal of information (in the form of facts,

ideas, inquiries or otherwise).

       3.      “Document” shall have the broadest meaning accorded to it by Rule 34 of the

Federal Rules of Civil Procedure and includes, without limitation, any tangible thing and any

correspondence, memorandum, writing, Communication, electronically stored information,

drawing, graph, chart, record, tape, message, note, calendar, diary, log, envelope, email, and

facsimile transmission, whether printed or recorded or reproduced by any mechanical,

photographic, xerographic, or electronic process, or written or produced by hand, and including,

but not limited to, any information contained in any computer or reasonably accessible computer

memory or memory media, although not yet printed. A draft or non-identical copy is a separate

Document within the meaning of this term.
             Case 22-11068-KBO       Doc 27901-8       Filed 11/12/24     Page 58 of 69




       4.       “Debtors,” “FTX,” “You,” or “Your” shall mean and refer to FTX Trading Ltd.

and its debtor affiliates, and shall include any agents, representatives, employees, attorneys,

accountants, investigators, consultants, and any other Person acting on Your behalf.

       5.       “Person” includes both the plural and the singular, and means any natural

person(s) or legal entities, including, without limitation, any business or governmental entities, or

associations, partnerships, firms, corporations, units, joint ventures, any other form of business

organization or arrangement, or any other form of public, private, or legal entity.

       6.       The term “relating to” shall mean evidencing, constituting, reflecting, concerning,

regarding, supporting, negating, contradicting, bearing upon, touching upon, incorporating,

affecting, including, pertaining to, summarizing or in any way logically or factually connected

with the subject matter of the inquiry or Requests for Production (whether directly, indirectly, or

in any other way).

       II.      INSTRUCTIONS

       1.       These Requests are continuing in nature, and to the extent that Your responses

may be enlarged, diminished, corrected, or otherwise modified by information that You obtain,

discover, or become aware of, subsequent to the production of Your initial responses hereto, You

are required to promptly produce supplemental responses.

       2.       Each of these Requests shall be construed independently and shall not be limited

by any other Request, except that Documents responsive to more than one request need be

produced only once.

       3.       If, in answering these Requests, You claim that any Request, or a definition or

instruction applicable thereto, is ambiguous, You may not use such a claim as a basis for refusing
            Case 22-11068-KBO        Doc 27901-8      Filed 11/12/24     Page 59 of 69




to respond, but rather, must set forth as part of the response the language You claim is

ambiguous and the interpretation You have used to respond to the individual Request.

       4.      In answering and responding to these Requests, You shall furnish information and

Documents in Your possession, custody, or control, including, but not limited to, information

that is in the possession, custody, or control of Your employees, agents, investigators,

consultants, representatives, attorneys (subject to any otherwise applicable privileges), assignors,

or any other person within Your control. Possession, custody, or control includes constructive

possession such that the Person need not have actual physical possession. As long as the Person

has a superior right or practical ability to compel production from a third party (including any

agency, authority or representative), the Person has possession, custody or control over the

information. For any requested Document no longer in Your possession, custody, or control,

state what disposition was made of the Document and the date of such disposition and identify

all Persons having knowledge of the Document’s contents. For any requested Document that has

been destroyed, identify the Document that has been destroyed, and state when the Document

was destroyed, why it was destroyed, by whom it was destroyed, and all Persons who

participated in or were involved in making the decision to destroy it.

       5.      Each Document requested herein is to be produced in its entirety, without deletion

or redactions (except for privileged matter, as set forth in the Instructions below), regardless of

whether You consider the entire Document to be relevant or responsive to these Requests.

       6.      In producing Documents, all Documents that are physically attached to each other

(including attachments to emails or embedded Documents) are requested to be produced in that

form regardless of whether the attached Documents are otherwise requested herein. Documents

that are segregated or separated from other Documents, whether by inclusion in folders, binders,
             Case 22-11068-KBO         Doc 27901-8     Filed 11/12/24     Page 60 of 69




files, sub-files or by use of dividers, tabs, or any other method, are requested to be produced in

that form.

        7.      All Documents that are in paper form or that constitute other physical objects

from which information may be visually read or viewed, as well as audio or video tapes and

similar recordings, shall be produced in their original form or in copies that are exact duplicates

of the originals.

        8.      If any Document is subject to a claim of privilege, protection, immunity, or

otherwise, but such Document also contains non-privileged or protected material that is

responsive to the Request, the Document shall be produced with all privileged or protected

content redacted, and the Document shall also be identified on a privilege log (i) expressly

claiming the applicable privilege, protection or immunity, (ii) identifying the specific privilege,

protection or immunity being claimed, and (ii) describing the nature of the Documents,

Communications, or tangible things not produced or disclosed in a manner that, without

revealing information that is itself privileged or protected, will enable other parties to assess the

claim to privilege, protection and/or immunity.

        9.      For purposes of interpreting or construing the scope of these Requests, all terms

shall be given their most expansive and inclusive interpretation.           This includes, without

limitation, the following:

                (a)    Construing “and” as well as “or” in the disjunctive or conjunctive, as

necessary to make the Request more inclusive and bring within the scope of the Request any

information that might otherwise be construed to be outside the scope of the Request;

                (b)    Construing the singular form of the word to include the plural, and the

plural form to include the singular;
             Case 22-11068-KBO        Doc 27901-8       Filed 11/12/24        Page 61 of 69




                (c)    Construing the masculine to include the feminine, and vice versa;

                (d)    Construing the term “including” to mean “including but not limited to”

and construing the term “all” to mean “any and all,” and vice versa;

                (e)    Construing the term “each” to include “every,” and construing “every” to

include “each”;

                (f)    Construing the use of a verb in any tense as the use of the verb in all other

tenses; and

                (g)    Construing and interpreting all spelling, syntax, grammar, abbreviations,

idioms, and proper nouns to give proper meaning and consistency to their context.

        10.     Unless otherwise indicated, the time period covered by these Requests is March 5,

2019 to the present and shall encompass all Documents, Communications, and information

relating to in whole or in part such period, or relating to events or circumstances during such

period, even though dated, prepared, generated, or received prior to or subsequent to that period.

        11.     Questions     or    concerns     may   be   directed     to    Adam    J.     Goldberg

(adam.goldberg@lw.com) and Christopher Harris (chris.harris@lw.com).

        III.    DOCUMENT REQUESTS

        1.      All Documents and Communications relating to the September 20, 2020 meeting

between 3AC and FTX as identified in FTX_3AC_000013874 at FTX_3AC_000013883.

        2.      All Documents and Communications between Ramnik Arora and Kyle Davies,

including without limitation communications between Ramnik Arora and Kyle Davies between

April   22,    2021   to    April   30,   2021    as   referenced   in   FTX_3AC_000013874          at

FTX_3AC_000013883.
            Case 22-11068-KBO      Doc 27901-8      Filed 11/12/24    Page 62 of 69




       3.      All Documents and Communications relating to guarantees provided by FTX to

any Person in connection with any loans made to 3AC, including without limitation any

guarantees made to any user on the FTX platforms as described in the statement in FTX-3AC-

000013862 that “Lenders bear no counterparty risk: FTX guarantees interest payments for

however long your funds are borrowed, even if the borrower gets liquidated.”
       Case 22-11068-KBO    Doc 27901-8     Filed 11/12/24   Page 63 of 69




Dated: November 1, 2024           /s/ Christopher Harris
       New York, New York
                                  Christopher Harris (admitted pro hac vice)
                                  Adam J. Goldberg (admitted pro hac vice)
                                  Nacif Taousse (admitted pro hac vice)
                                  LATHAM & WATKINS LLP
                                  1271 Avenue of the Americas
                                  New York, NY 10020
                                  Telephone: (212) 906-1200
                                  Facsimile: (212) 751-4864
                                  Email: chris.harris@lw.com
                                          adam.goldberg@lw.com
                                          nacif.taousse@lw.com

                                  Tiffany M. Ikeda (admitted pro hac vice)
                                  LATHAM & WATKINS LLP
                                  355 South Grand Avenue, Suite 100
                                  Los Angeles, CA 90071
                                  Telephone: (213) 485-1234
                                  Facsimile: (213) 891-8763
                                  Email: tiffany.ikeda@lw.com

                                  – and –

                                  John W. Weiss (No. 4160)
                                  Joseph C. Barsalona II (No. 6102)
                                  Alexis R. Gambale (No. 7150)
                                  PASHMAN STEIN WALDER HAYDEN, P.C.
                                  824 North Market Street, Suite 800
                                  Wilmington, DE 19801
                                  Telephone: (302) 592-6496
                                  Facsimile: (732) 852-2482
                                  Email: jweiss@pashmanstein.com
                                          jbarsalona@pashmanstein.com
                                          agambale@pashmanstein.com

                                  Counsel to the Joint Liquidators
                                  of Three Arrows Capital, Ltd.
              Case 22-11068-KBO               Doc 27901-8          Filed 11/12/24         Page 64 of 69




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    ---------------------------------------------------------- x
                                                               :
    In re:                                                     : Chapter 11
                                                               :
    FTX TRADING LTD., et al.,1                                 : Case No. 22-11068 (JTD)
                                                               :
                        Debtors.                               : (Jointly Administered)
                                                               :
    ---------------------------------------------------------- x

             THE JOINT LIQUIDATORS OF THREE ARROWS CAPITAL, LTD.’S
            FOURTH SET OF INTERROGATORIES DIRECTED TO THE DEBTORS

         PLEASE TAKE NOTICE that, in connection with the above-captioned proceeding, pursuant

to Federal Rule of Civil Procedure 33 made applicable by Federal Rules of Bankruptcy Procedure

7033 and 9014(c), and the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware, Russell Crumpler and Christopher Farmer (the

“Joint Liquidators”), in their joint capacities as the duly authorized foreign representatives of Three

Arrows Capital, Ltd. (“3AC”), hereby demand FTX Trading Ltd. and its debtor affiliates

(collectively, the “Debtors”) provide written responses to the following interrogatories (the

“Interrogatories”) no later than 5:00 p.m. Eastern Time on November 8, 2024, or at a date and

time mutually agreeable to the parties.




1
       The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
       4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
       FTX Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
       list of such information may be obtained on the website of the FTX Debtors’ claims and noticing agent at
       https://cases.ra.kroll.com/FTX.
            Case 22-11068-KBO       Doc 27901-8       Filed 11/12/24    Page 65 of 69




       I.      DEFINITIONS

       Notwithstanding any definition below, each word, term, or phrase used in these

Interrogatories is intended to have the broadest meaning permitted under the Federal Rules of Civil

Procedure and the Local Rules.

       1.      “3AC” refers to Three Arrows Capital, Ltd., incorporated as a business company

under the laws of the British Virgin Islands on May 3, 2012, and without limitation any affiliates,

agents, representatives, employees, attorneys, accountants, investigators, consultants, and any

other person or entity acting on its behalf, including without limitation Three Arrows Capital Pte.

Ltd., incorporated as a business under the laws of Singapore in 2012, Three AC Ltd., Kyle Davies,

and Su Zhu.

       2.      “Communication” shall mean transmittal of information (in the form of facts, ideas,

inquiries or otherwise).

       3.      “Documents” shall have the broadest meaning accorded to it by Rule 34 of the

Federal Rules of Civil Procedure and includes, without limitation, any tangible thing and any

correspondence, memorandum, writing, Communication, electronically stored information,

drawing, graph, chart, record, tape, message, note, calendar, diary, log, envelope, email, and

facsimile transmission, whether printed or recorded or reproduced by any mechanical,

photographic, xerographic, or electronic process, or written or produced by hand, and including,

but not limited to, any information contained in any computer or reasonably accessible computer

memory or memory media, although not yet printed. A draft or non-identical copy is a separate

Document within the meaning of this term.




                                                2
             Case 22-11068-KBO       Doc 27901-8      Filed 11/12/24     Page 66 of 69




       4.       “Debtors,” “FTX,” “You” and “Your” shall mean and refer to FTX Trading Ltd.

and/or their affiliates, and shall include any agents, representatives, employees, attorneys,

accountants, investigators, consultants, and any other Person acting on Your behalf.

       5.       “Person” includes both the plural and the singular, and means any natural person(s)

or legal entities, including, without limitation, any business or governmental entities, or

associations, partnerships, firms, corporations, units, joint ventures, any other form of business

organization or arrangement, or any other form of public, private, or legal entity.

       6.       The term “relating to” shall mean evidencing, constituting, reflecting, concerning,

regarding, supporting, negating, contradicting, bearing upon, touching upon, incorporating,

affecting, including, pertaining to, summarizing or in any way logically or factually connected

with the subject matter of the inquiry or Interrogatories (whether directly, indirectly, or in any

other way).

       II.      INSTRUCTIONS

       1.       For each Interrogatory, identify each Person (other than Your attorneys) who

assisted in the preparation of Your answer to the Interrogatory, and all Documents or things that

were referenced or relief upon in the preparation of Your answer to the Interrogatory.

       2.       In answering these Interrogatories, state all information available to You or

otherwise within Your possession, custody, and/or control, and not merely information within

Your personal knowledge. If You do not have sufficient knowledge to respond fully to an

Interrogatory, you must make a reasonable, good faith effort to obtain the information necessary

to do so.

       3.       If You cannot respond fully to an Interrogatory after exercising due diligence to

obtain the information necessary to do so, answer to the extent possible, state with particularity



                                                 3
             Case 22-11068-KBO        Doc 27901-8      Filed 11/12/24      Page 67 of 69




Your inability to answer the remainder, and state with particularity whatever information or

knowledge You have relating to the unanswered portion.

        4.      If information that falls within the scope of an Interrogatory was lost or destroyed,

describe with particularity the information (type, subject matter, etc.) that has been lost or

destroyed, and explain the circumstances relating to the loss or destruction of such information,

including the date on which the information was lost or destroyed, and the manner of its loss or

destruction.

        5.      If You object to any part of any Interrogatory, answer all parts of such Interrogatory

to which You do not object, and, as to each part to which You do object, set forth the specific basis

for Your objection.

        6.      If You object to an Interrogatory on the grounds of privilege, work-product

protection or any other privilege, protection or immunity, answer the Interrogatory with such non-

privileged information as is responsive, identify the nature of the information withheld as

privileged, protected or immune, and specify the basis for Your claim of privilege, protection or

immunity. If the basis for withholding information involves an agreement, such as a common-

interest agreement or joint-defense agreement, identify and produce a copy of such agreement.

        7.      If You find the meaning of any term in any Interrogatory unclear, without waiver

of right to seek a full and complete answer to the Interrogatory, assume a reasonable meaning,

state with particularity what that assumed meaning is, and answer the Interrogatory according to

the assumed meaning.

        8.      The singular form of any noun or pronoun includes the plural, and vice versa.

        9.      The use of any tense of any verb includes within its meaning all other tenses of that

verb.



                                                  4
             Case 22-11068-KBO          Doc 27901-8    Filed 11/12/24        Page 68 of 69




        10.     Unless otherwise indicated, the time period covered by these Interrogatories is

March 5, 2019 to the present, and shall encompass all Documents, Communications and

information relating to in whole or in part such period, or relating to events or circumstances during

such period, even if the Document, Communication or information is dated, prepared, generated,

or received prior to or subsequent to that period.

        11.     These Interrogatories shall be deemed continuing in nature. You are therefore

required to supplement your response in the event that You obtain or discover additional

information or Documents between the time of Your initial response and the time of hearing or

trial in the action. This paragraph shall not be construed to alter Your obligations to comply with

all other instructions herein.

        12.     Questions        or   concerns   may   be   directed    to    Adam     J.    Goldberg

(adam.goldberg@lw.com) and Christopher Harris (chris.harris@lw.com).

        III.    INTERROGATORIES

        1.      Identify all the “FTX Developers” as referenced in FTX_3AC_000013874 at

FTX_3AC_000013911, including the name, title, and last known physical address, phone number,

and email address for each current and former employee, and describe their personal knowledge

relating to 3AC.

        2.      Identify all FTX users who loaned any amount to 3AC as of June 12, 2022, and the

amount each individual FTX user loaned to 3AC.




                                                   5
       Case 22-11068-KBO    Doc 27901-8     Filed 11/12/24   Page 69 of 69




Dated: November 1, 2024           /s/ Christopher Harris
       New York, New York
                                  Christopher Harris (admitted pro hac vice)
                                  Adam J. Goldberg (admitted pro hac vice)
                                  Nacif Taousse (admitted pro hac vice)
                                  LATHAM & WATKINS LLP
                                  1271 Avenue of the Americas
                                  New York, NY 10020
                                  Telephone: (212) 906-1200
                                  Facsimile: (212) 751-4864
                                  Email: chris.harris@lw.com
                                          adam.goldberg@lw.com
                                          nacif.taousse@lw.com

                                  Tiffany M. Ikeda (admitted pro hac vice)
                                  LATHAM & WATKINS LLP
                                  355 South Grand Avenue, Suite 100
                                  Los Angeles, CA 90071
                                  Telephone: (213) 485-1234
                                  Facsimile: (213) 891-8763
                                  Email: tiffany.ikeda@lw.com

                                  – and –

                                  John W. Weiss (No. 4160)
                                  Joseph C. Barsalona II (No. 6102)
                                  Alexis R. Gambale (No. 7150)
                                  PASHMAN STEIN WALDER HAYDEN, P.C.
                                  824 North Market Street, Suite 800
                                  Wilmington, DE 19801
                                  Telephone: (302) 592-6496
                                  Facsimile: (732) 852-2482
                                  Email: jweiss@pashmanstein.com
                                          jbarsalona@pashmanstein.com
                                          agambale@pashmanstein.com

                                  Counsel to the Joint Liquidators
                                  of Three Arrows Capital, Ltd.




                                     6
